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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                        :    Civil No. 1: 18-mc-0501
ELAM, RASHAAN, MECHELLE,                :
        Plaintiff,                      :
                                        :
           v.                           :
                                        :
                                        :
JOSH SHAPIRO, et al.,                   :
        Defendants.                     :   Judge Sylvia H. Rambo

                                  ORDER

     In accordance with the accompanying memorandum of law, IT IS

HEREBY ORDERED that the motion to dismiss filed by the Honorable Jessica

Brubaker, the Honorable Edward Guido, the Honorable Christylee Peck, and the

Honorable Thomas Placey (“Judicial Defendants”) is GRANTED as follows:


     1. The Clerk of Court is directed to assign this case a Civil Docket Number

        and close the above-captioned Miscellaneous Case;

     2. Plaintiff’s complaint is DISMISSED WITH PREJUDICE with respect

        to the Judicial Defendants;

     3. Plaintiff’s complaint is DISMISSED WITHOUT PREJUDICE as to all

        remaining defendants;

     4. Plaintiff is HEREBY ORDERED to pay the balance of the civil case

        filing fee or file a motion to proceed in forma pauperis if she desires to
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        file an amended complaint or any other subsequent filings in the newly-

        docketed civil case;

     5. The Clerk of Court is instructed to close the newly-docketed civil case.

                                            s/Sylvia H. Rambo
                                           SYLVIA H. RAMBO
                                           United States District Judge

Dated: September 6, 2018
